     Case 21-03043-swe           Doc 354    Filed 02/16/23 Entered 02/16/23 08:57:35         Desc Main
                                           Document      Page 1 of 5




The following constitutes the ruling of the court and has the force and effect therein described.



Signed February 15, 2023
                                           United States Bankruptcy Judge
______________________________________________________________________




                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

       In re:                                            §
                                                         §
       EFO Holdings, L.P.,                               §   Case No. 12-37936-swe-7
                                                         §
             Debtor.                                     §


       Scott M. Seidel, the chapter 7 Trustee, et al.,   §
                                                         §
             Plaintiffs                                  §
                                                         §
       vs.                                               §   Adversary No. 21-03043-swe
                                                         §
       William Esping, et al.,                           §
                                                         §
             Defendants.                                 §

                                    AMENDED SCHEDULING ORDER




                                                                                          4880-5533-4734.v4
Case 21-03043-swe        Doc 354    Filed 02/16/23 Entered 02/16/23 08:57:35      Desc Main
                                   Document      Page 2 of 5



       Anticipated Length of Bench Trial: 9 Days

 1.     Rule 26(a)(1) Disclosures                         Waived

 2.     Adding Parties and Amending Pleadings,            With Defendants’ Answer
        Counterclaims, Crossclaims by Defendants

 3.     For those not already bound by Docket #189, All   Monday, April 3, 2023
        Motions objecting to Jurisdiction, Due
        Process, Stern, or Trial before Bankruptcy Ct.

 4.     Service of Fact Discovery                         Monday July 10, 2023

 5.     Expert Disclosures for Party with the Burden of   Monday, August 28, 2023
        Proof

 6.     Completion of Fact Discovery (Including           Monday September 11, 2023
        Production of Responsive Documents)

 7.     Expert Reports in rebuttal                        Friday, September 15, 2023

 8.     Completion of Expert Discovery                    Monday, October 2, 2023

 9.     Summary Judgment Motions and Daubert motions      Tuesday, October 3, 2023
        no later than

 10.    Witness and Exhibit Lists, including agreed       Monday, November 13, 2023
        admissible exhibits:

 11.    Rule 26(a)(3) Joint Pretrial Order, Proposed      Monday, November 13, 2023
        Findings of Fact and Conclusions of Law, any
        written evidentiary motions or under Rule 9018

 12.    Trial Docket Call                                 Monday, November 20, 2023,
        (Webex instructions attached)                     9:30 a.m. (central)

 13.    Trial (9 days)



                                   ### END OF ORDER ###




                                              2
                                                                               4880-5533-4734.v4
    Case 21-03043-swe          Doc 354       Filed 02/16/23 Entered 02/16/23 08:57:35              Desc Main
                                            Document      Page 3 of 5
                                  WebEx Hearing Instructions
                                         Judge Scott W. Everett
Pursuant to General Order 2020-14 issued by the Court on May 20, 2020, all hearings before Judge Scott W.
Everett are currently being conducted by WebEx videoconference unless ordered otherwise.

For WebEx Video Participation/Attendance:
Link:   https://us-courts.webex.com/meet/everett

For WebEx Telephonic Only Participation/Attendance:
Dial-In: 1-650-479-3207; Access code: 476 420 189

Participation/Attendance Requirements:
•       Counsel and other parties in interest who plan to actively participate in the hearing are encouraged to
        attend the hearing in the WebEx video mode using the WebEx video link above. Counsel and other
        parties in interest who will not be seeking to introduce any evidence at the hearing and who wish to
        attend the hearing in a telephonic only mode may attend the hearing in the WebEx telephonic-only
        mode using the WebEx dial-in and access code above.
•       Attendees should join the WebEx hearing at least 10 minutes prior to the hearing start time. Please be
        advised that a hearing may already be in progress. During hearings, participants are required to keep
        their lines on mute at all times that they are not addressing the Court or otherwise actively
        participating in the hearing. The Court reserves the right to disconnect or place on permanent
        mute any attendee that causes any disruption to the proceedings. For general information and tips
        with respect to WebEx participation and attendance, please see Clerk’s Notice 20-04:
        https://www.txnb.uscourts.gov/sites/txnb/files/hearings/Webex%20Information%20and%20Tips_0.pdf
•       Witnesses are required to attend the hearing in the WebEx video mode, and live testimony will
        only be accepted from witnesses who have the WebEx video function activated. Telephonic
        testimony without accompanying video will not be accepted by the Court. The Court may consider
        special requests for other appearance options on a case-by case-basis.
•       All WebEx hearing attendees are required to comply with Judge Everett’s Telephonic and
        Videoconference Hearing Policy (included within Judge Everett’s Judge-Specific Guidelines):
        https://www.txnb.uscourts.gov/judges-info/hearing-dates/judge-everetts-hearing-dates .

Exhibit Requirements:
•       Any party intending to introduce documentary evidence at the hearing must file an exhibit list in the
        case with a true and correct copy of each designated exhibit filed as a separate, individual attachment
        thereto so that the Court and all participants have ready access to all designated exhibits.
•       NOTE: The Court requests one copy of the exhibits be delivered to the Court in electronic
        format (USB/thumb drive) prior to the hearing by the date that they would normally be exchanged
        pursuant to our local rules. Please deliver to: US Bankruptcy Court, ATTN: Stephen Manz, 1100
        Commerce Street, Room 1254, Dallas, TX 75242.

Notice of Hearing Content and Filing Requirements:
IMPORTANT: For all hearings that will be conducted by WebEx only:
•       The Notice of Hearing filed in the case and served on parties in interest must: (1) provide notice that
        the hearing will be conducted by WebEx videoconference only, (2) provide notice of the above WebEx
        video participation/attendance link, and (3) attach a copy of these WebEx Hearing Instructions or
        provide notice that they may be obtained from Judge Everett’s hearing/calendar site:
        https://www.txnb.uscourts.gov/judges-info/hearing-dates/judge-everetts-hearing-dates .
•       When electronically filing the Notice of Hearing via CM/ECF select “at https://us-
        courts.webex.com/meet/everett” as the location of the hearing (note: this option appears immediately
        after the first set of Wichita Falls locations). Do not select Judge Everett’s Dallas courtroom as the
Case 21-03043-swe          Doc 354      Filed 02/16/23 Entered 02/16/23 08:57:35                   Desc Main
                                       Document      Page 4 of 5
    location for the hearing.

 CONNECTION INSTRUCTIONS FOR PARTICIPATING IN A WEBEX VIRTUAL HEARING
The court will allow participation in a virtual hearing using either of the following two methods. Please
connect at least 10 minutes prior to the hearing time. It is recommended that attorneys discuss the logistics
of the WebEx appearance with their clients/witnesses at least 48 hours before the hearing.
Option 1: Using the WebEx app on your smartphone, tablet, laptop, or desktop.
Please connect using only one device. Using two or more devices may cause audio feedback issues.
If using a phone or tablet for video, it should be set in a stationary position. Holding a phone or tablet in
your hand while speaking does not yield a good video for the court.
NOTE: If you are experiencing audio issues when using the WebEx application, you may use the “Call
Me At” selection under “Audio Connection” to move just the audio portion of the WebEx conference to
your telephone.
Option 2: Call in via phone (audio only).
Webex dial-in number: 1-650-479-3207 (access code: 476 420 189).

HELPFUL HINTS AND ETIQUETTE

•   Please use the mute function when you are not speaking. Please be aware that sometimes the court
    mutes everyone when there is background noise. When you want to speak, make sure you are not on
    mute. Call-in users should dial *6 to unmute your line.

•   Remember to state your name for the record each time before speaking and speak slowly and clearly
    so the Court can get a good record.

•   Use headphones whenever possible, especially if using a desktop PC with external speakers. We have
    found that newer iPhones provide the best visual and audio feed – better than most desktop computers.
    If you are on a personal computer, headphones or earbuds are required for those who need to speak
    during the hearing.

•   During examination, attorneys and witnesses should use a separate camera and microphone when
    possible. To avoid feedback, parties using separate devices must not be in the same room. The Court
    may consider special requests on a case-by-case basis.
•   WebEx participants may use the "share" button to easily share their screen or document with the
    Court or other WebEx participants. Press “stop sharing” to remove the presentation from the meeting.

•   When making an appearance from a vehicle, please park in a safe location with windows rolled up (to
    minimize background distraction and noise) and use a headset that is ear-to-phone (not the vehicle’s
    hands-free speaker-phone option).

•   Suggestions for participating in a WebEx hearing from home: If you are having connectivity
    problems, turn off devices that may be using bandwidth on your home network. Devices or
    applications such as Facetime, Roku, streaming media players, video games, or large downloads can
    negatively impact the audio and video quality of the WebEx meeting.

•   Participants are reminded that they should wear attire suitable for court.

•   Participants who wish to test their WebEx connection or the share screen functionality in advance of
    the hearing may arrange a “practice run” by contacting the courtroom deputy.

EXHIBITS AND DEMONSTRATIVE AIDS
Exhibits should be filed ahead of time by the date that they would normally be exchanged pursuant to our
Case   21-03043-swe Doc 354 Filed 02/16/23 Entered 02/16/23 08:57:35 Desc Main
 local rules using the "list (witness/exhibit/generic)" OR "notice (generic)” OR “Support/Supplemental
                                         Document         Page 5 of 5
 document” event in ECF.
 Demonstrative aids and Power Points should also be filed prior to the hearing, if possible. If not, WebEx
 has the ability to allow you to share your screen, or a particular document, with everyone in the hearing. If
 these documents are admitted as exhibits, they would then have to be filed after the hearing.
   •   During the hearing, lawyers can refer to (and offer) their exhibits by referencing the exhibit’s
       docket number for the court and all to access. After the hearing, the court will create a Minute
       Entry reflecting which exhibits were admitted. You should consider emailing exhibits to witnesses
       ahead of time since theymay not have access to PACER.
   •   NOTE: The Court requests one copy of the exhibits be delivered to the Court in electronic
       format (USB/thumb drive) prior to the hearing by the date that they would normally be
       exchanged pursuant to our local rules. Please deliver to: US Bankruptcy Court, ATTN:
       Stephen Manz, 1100 Commerce Street, Room 1254, Dallas, TX 75242.
